                                                                            Commonwealth of Virginia
                                                                                 Depar tment     of He,tlth
                                                                     Office of the Chief Medical Examiner
                                                                                   CE 1T RAL DISTRICT
                                                                      400 EAST JACKSON STREET RICllMOND, VA 23219

                                                                             REPORT OF INVEST IGATION


                  WILLIAM                                     CHARLES                             MORVA
                  First Name                                  Middle Name                         Last Name

       SSN        230-45- 1365
Home Address            219 SHEFFEY LANE            NORTH CHESTERFJELD, VA 23235
                               Number and Street                   City, State, Zip

Age                            DOB 2/9/ 1982                Sex                 Last Known Occupation
        35 Yrs                                                    MALE

Race    WHITE                             Hispanic?          NO               Marital Status     NEVER MARRJED


MEDICAL EXAMINER AUTHORITY                      VIOLENT OR UNNATURAL

Police Notified       YES        Investigator      EVERETT                                     Phone    (434) 535-7000         Jurisdiction   DOC-GREENSVILLE




                                  DATE                 TIME
                                (MM/DOIYY)             (24h)                   LOCATION                                     CITY/ COUNTY            BY WHOM

  LAS T KNOWN               716/2017               2115             GREENSVILLE CURRECTIO ' Al.                          GREE SVILLE COUNTY,         PRISON STAFF. OTHER
  ALIVE                                                             CENTER                                               VA

                            7/6/2017                                GREENSV ILLE CORRECTIONAi,                           GREENSVILLE                PRISON STAFF, OTHER
  EVENT/ INJURY                                    2 11 5
                                                                    CENTER                                               COUNTY,VA
  ACUTE ILLNESS


                            716120 17                               GREE!'ISVILLE CORRECTIONAL                           GREENSVILLE                PRISO STAFf, OTHER
  FOUND
                                                                    CENTER                                               COU:-JTY, VA
                            7/6'2017                                GREENSVILLE CORRECTIONAL                          GREENS\'ILLE COUNl Y.         DR MAMONETTE
  DEATH/
  PRONOUNCED
                                                                    CENTER                                               \IA


                            717/20 17              0930             400 EAST JACKSON STREET                              RICHMOND , VA              HUDDLE. LAUREN
 EXAMINATION
 OF BODY

 Cause of Death:                                                                                              Autopsy (YIN)·       y
 Jl DIC IALl.Y SANCTIO NED LETllAL INJ EC TION
                                                                                                              Authorized by

                                                                                                              Pathologist          HUDDLE. LAUREN

                                                                                                              A utopsy No          C0455-J7

                                                                                                                                   CENTRAL OCME




 7-0ct-2017 0701




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                                                                                           MEDICAL HISTORY

 Dnone known             Oarcoholism                                                                   O drug abuse


 Dseizure disorder (cause)                                                       Dcancer                                         O diabetes         D hypertension   0atherosclerosis

 Dstroke         O psychiatric diagnosis (specify}                                                                   Odepression          Odementia (specify)

 O recent trauma (specify)                                                                                                                                           D hip fracture



 Dacute infections (specify)


 D other (specify):




 Treating MD




Medications




Tox requested: YES


Summary of Circumstances:
   Per repo1t, th is 35· ycar· old white male '"''as executed vi a lethal injectl on


   Postmortem toxicology revealed a lethal level of m idazolam. Rt:suhs of rocuronium tt!St ing by an Outside: toxicology lab('l ratory will follow in a sqmrate
report \\•hen com plete.. Auto psy flnding,s consi stent with death due to lethal injection were present to lnc-ludc puhn onaiy congestion and cerebral
hypox1alische-mia. There wa s no er lctence of infiltration of the Intra venous inj ection sites

   Naturil l pathology included mild atherosclerosls and coro11a1y artery disea se, mild cardiac fi brosis an<l m yxomato us rlcgc11erntton o f the mitral val ve

  There was no evlllence of additi onal in fl icted trnum a




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         .·
 Autopsy       C0455-l 7
 File#         c~o 17-64386
 Date/Day
 T ime
               iti930
                 v 7. 201 1. Fridav
                                                            REPORT OF AUTOPSY
 DECEDENT             WILLIAM
 Autopsy Authorized by: Or. Huddle, Medical Examiner for DOC-Greensville.
  BODY IDENTIFIED BY:                                                   PERSONS PRESENT AT AUTOPSY:
  Greensville Regional Correctional Center tag, Correctional            S. Banning
  ta
Rigor: Complete         Livor: Purple/b lanching          Distribution: Posterior
Age: 35     Race:   \Vhite   Se:>. : i'vlale Length : - 68 ·· Weight : - 163 lb     Eyes: Hazel   Hair:   Brown   Mustache:   yes   Beard : ) CS
Ci rcumc ised: 'o     Bod y Hea t: Refrigerat ed
C LOTHI NG, PE RSONAL EFFECTS, EXTERNA L WOUNDS, SCARS, TATTOOS, OTHER IDENTIFYING FEATURES:
C LOTHING: Wearing one blue prison-issued shirt (received previously cut), one prison-issued pair of jean pants, one prison-issued
pair of white boxers. AHprison-issued clothing is discarded per COCM E protocol.
PERSONAL EFFECTS: None.                                                                                            .
EXTERNAL EXAMINATION: Well developed, well-nourished adult white male. No decomposition is present. The corneae are
clear, conjunctivae are pink and without petechiae and the sclerae are white with bilateral tache noire. The oral cavity, external nares
and external auditory canals are free of foreign material. The dentit ion is natural. The facia l skeleton is palpably intact. The external
and mucosa! aspects of the lips are without injury. The neck is symmetrical with a normal range of mobility. The chest and back are
symmetrical with a 1/ 16" red abrasion present on the right side of the chest. The abdomen is tlat and without injury. The hands are not
received bagged. There is a 1/8" red abrasion present on the right index finger. No additional areas of injury on the hands or forearms.
The fingernails are long. The lower extrem ities are symmetrical and remarl<able for a l " red-brown contusion on the right knee and a
314'' red-brown contusion on the left knee. Scattered punctate, scabbed, brown abrasions present on the bilateral knees. Multiple
healing scabbed brown abrasions ranging up to l/8" in greatest dimension present at the posteriolateral aspect of the right ankle. The
body is received with the wri sts and ankles tied with gauze.
MARKS OF THERAPY: Three EKG leads present on the anterior torso. JV present in left antecubital fossa with no evidence of
infiltration at the IV site. IV present in the right antecubital fossa connected to two bags of normal saline. No evidence of infiltration
present at the IV site of the nght antecubital fossa. Two loose bags of normal saline with attached IV tubing are recei ved with in the
body bag.
SCARS: None.
TATTOOS: None.
X-RAYS: None.
HISTORY: Lethal injection.

PATHOLOG ICAL DIAGNOSES:
Judicially sanctioned lethal injection.    •
          Postmortem toxicology.
              Iliac blood:     Ethanol none detected
                                 Midazolam 2.3 m~/L
                                 alpha-Hydroxym1dazolam present
                              No other drugs.and/or drug classes were detected
                               *Rocuronium results to follow in a separate report when complete.
             Viterous:        Ethanol none detected
        IV' s present in bilateral antec ubital fossae with no evidence of infiltration of the puncture sites.
        Pulmonary congestion, bilateral.
        Cerebral hypox1c/ischemic neurons.
        No evidence of additional inflicted trauma.
Narural pathology.
         Mild aortic atherosclerosis.
         Coronary artery disease, one vessel, mild.
         Cardiac perivascular fibrosis, mild.
         Myxomatous degeneration of mitral valve.
                        Judicially sanctioned lethal injection.
                                     JUL 0 3 20H:s


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                          Smooth with no evidence of adhesions or abnormal collections of flu id. The organs are in their usual
                          anatomic locations.
                          290 grams. The epicardial surface is smooth and glistening. The heart has an unremarkable size and shape.
                          The coronary arteries arise in a right dominant fashion ana follow the usual distribution. The proximal left
                          anterior descending coronary artery grossly exhibits 25% eccentric atherosclerotic narrowing. The
                          remaining distribution of arteries exhibits mmimal atherosclerotic narrowing. Myocardium is red-brown
                          and unremarkable. The left ventricular wall is 1.0 cm in thickness, wh ile the septum and right ventricle are
                          1.2 and 2.0 cm respectively. Atrial and ventricular septae are intact. There are gross fibromyxoid changes
                          of the mitral va lve. The remaining valves are within normal limits.
 AORTA:                   The aorta exhibits mild at herosclerosis inferior to the renal artery ostia. All major vascu lar ostia are probe
                          patent.
N ECK ORGA                Soft tissue and straP. muscles of the neck are unremarkable and without evidence of injury. The hyoid bone
                          and laryngeal cartilages are intact. The thyroid gland is unremarkable. Thymic tissue is present and
                          unremarkable.
                          Right - 800 grams, left - 628 grams. Upper airway is notab le for a moderate amou nt of froth. Pleural
                          surfaces are smooth and remarkable for dependent congestion. Parenchyma is red-purple in color, exuding
                          an abundant amount of froth on cross section. No focal lesions on cut surface. Pulmonary arteries are patent
                          without thrombus or embolus.
                          Within normal lim its.
                          1671 grams. Intact capsule covering moderatel y congested red-brown parenchvma. The cut surface exhibits
                          neither focal lesions nor evidence of fatty change or cirrhosis.           ~

GALLBLADDER:              Moderate amount of green-brown bile. Unremarkable mucosa with no evidence of stones.
SPLEEN:                   188 grams. Intact capsule covering moderately firm unremarkable parenchyma.
PANCREAS:                 Yellow, lobulated cross section.
ADRENAL GLANDS:           Within normal limits.
GI TRACT:                 Tongue with no evidence of injury. Esophagus is unremarkable. The stomach exhibits the usual rugal folds
                          and contai ns 20 mL of green liquid with scattered food particles and is sli~htly distended with air. The
                          small and large bowel arc unremarkable. The appendix is present and unremarKable.
KIDNEYS:                  Right- I24 grams, left - 182 grams. The capsules strip easily to revea l smooth regular contours. The renal
                          parenchyma is red-brown with well demarcated corticornedullary junctions. Pelves and ureters are
                          unremarkable without evidence of distention.
BLADDER:                  Abundant amount of clear yellow translucent urine. The mucosa is tan-pink and unremarkable.
GEN ITALIA:               The internal genitalia are unremarkable.
BRAIN & MENINGES:         1380 grams. Dura mater intact. Leptomeninges are thin and delicate. There is no evidence of epidural,
                          subdural or subarachnoid hemorrhage. No focal lesions on cut surface. Vessels at the base of the brain are
                          intact and unremarkable.
MUSCULOSKELETAL: No bone or joint abnormalities are noted. Skeletal muscle is red-tan and moist with a mass appropriate for the
                 decedent's age and sex.

MICROSCOPIC SECTIO S: Heart, LAD, mitral valve, lung, kidney, li ver, brain.
OTHER LAB PROCEDURES: PHOTO x MICRO x TOX x X-RAY FING8RPRINTS x                           DE TAL
!IIV HEPATITIS BACTERIOLOGY V IROLOG Y ACCELERANTS OTHER

DISPOSITION OF EVIDENCE:
TOXICOLOGY: DFS - Vitreous, Red border blood (iliac x2); NMS - EDTA blood (il iac x 1).
OCME - Red border (il iac x i), ti!!er top, liver. bile. urine. D A cards and fingerpri nts (OCME-obtained and those provided by
correctional facility).           -
INVESTIGATOR - None.
FUNERAL HOME - None.




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                           Mild increase in perivascular fibrosis. Otherwise, within normal limits.




                           Within normal limits.


LI VER:                    Withi n normal limits.


                           Within normal limits. No polarizable crystals present.




SUMMARY:
Per report, this 35-year-old white male was executed via lethal injection.
Postmortem toxicology revea led a lethal level of midazo larn. Results of rocuronium test ing by an outside toxicology laboratorv will
fo llow in a separate report when complete. Autopsy findings consistent with death due to lethal injection were present to include
pulmonary congestion and cerebral hypoxia/ischemia. There was no evidence of infiltration of the intravenous injection sites.
Natural pathology included mild atherosclerosis and coronary artery disease, mild cardiac fibrosis and myxomatous degeneration of
the mitral valve.
There was no evidence of additional inflicted trauma.




Homicide.




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                                                              Com monwealth ofVirg ini a




                                                           CERTIFICATE OF A NALYSIS        Ce ntral I a boratol)'
                                                                                           700 N 5th Strc.:1
                                                                                           R1ch111ond. VA 2321 9
                                                                September 15. 20 17
                                                                                                                    (804) 786-4707
                                                                                                                    (804) 786-6907




      Your Cast: #:

      Viclim(s):           MORVA, William

      Suspect(s):

      Evidence Submitted By:             Pamela Blizzard

           Item TX I
           Item TX2

      RUSULTS :


      Item TX I
      Il iac Bl ood :
            Ethanol none detected
            Midazolarn 2.3 mglL
           a I pha-H ydroxyrn idazo larn present

      1   o other drugs and Tor drug classes were detected.




      Item T X2
      Vitreous:
          Ethanol none dekcted

      Item TX2 was screened for the fo llowing drugs andTor drug classes :
      Ethanol , methanol , acetone, isopropanol.

          ee attached document for Uncertainty of Measuremen t reporting .


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                                       CERTIFICATE OF ANALYSIS
Office of the Chief Medical Examiner
FS Lab # C 17-8070
Your Case # C0455 - l 7. C2017-64386
September 15 . 20 17




                                                                 ~~
                                                                  Forensic Scientist




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